          Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 1 of 10




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Attorneys for Plaintiff

                      IN THE LINITED STATES DISTRICT COURT

                             FOR TFIE, DISTRICT OF IDAHO

 JOHANNES CLAUS,                                    )      CASE NO.
                                                    )
         Plaintiff,                                 )
                                                    )      COMPLAINT AND DEMAND F'OR
 -VS-                                               )      JURY TRIAL
                                                    )
 CANYON COUNTY, IDAHO, a political                  )
 subdivision of the State of Idaho,                 )
                                                    )
         Defendant                                  )
                                                    )
                                                    )

        COMES NOW, Johannes Claus, the above-named Plaintiff, and for cause of action

against Defendant Canyon County, Idaho, hereby COMPLAINS AND ALLEGES as follows

                                               PARTIES

        1.      Plaintiff Johannes Claus (hereinafter "Claus") at all times herein mentioned   has

been, and presently is, a resident of Ada County, Idaho.




COMPLAINT AND DBMAND FOR JURY TRIAL - I
          Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 2 of 10




       2.       Defendant Canyon County, Idaho ("Canyon County")              at all times herein
mentioned has been, and presently is, a political subdivision of the State of Idaho.

                                 JURISDICTION AND VENUE

        3.      Jurisdiction is appropriate pursuant to 28 U.S.C. $ 1331 as this case presents as a

claim and question brought under federal law. Pendant jurisdiction over state law claims is

appropriate pursuant to 28 U.S.C. $ 1367.

       4.       Venue is appropriate in the District of Idaho pursuant to 28 U.S.C. $ 1391.

                                  GENERAL ALLEGATIONS

        5.      Mr. Claus was an employee of Canyon County from approximately October of

2016 until August 6,2018.

        6.      Mr. Claus was hired in October of 2016 at the Public Defender Attorney II pay

grade based on his extensive legal experience.   Mr. Claus passed the New York State bar in2004

and carried an active law license since that time. During the application process Mr. Claus

identified himself as a disabled veteran.

        7.      In the summer of 2017, Canyon County changed its pay policy for public
defender attorneys   to a seniority system. Attorney pay would henceforth be based on              the

number of years since an attomey passed the bar, including years that the attorney was actively

licensed in any state.

        8.      The seniority system made no distinction between years worked as an attorney

in the field of criminal law, and years worked as an attorney in other     areas   of law; all   years

spent working as an attorney counted in calculating seniority.




COMPLAINT AND DEMAND FOR JURY TRIAL - 2
              Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 3 of 10




          9.       Canyon County, however, informed Mr. Claus that the years Mr. Claus spent as

a Judge   Advocate attorney in the military was not relevant to criminal defense.

          10.      Over Mr. Claus' objection, Canyon County discounted Mr. Claus' years of

service from 13 to 6, which demoted Mr. Claus and reduced his pay to the level of a sixth year

Public Defender Attorney I.

          1   1.   In late August or early September   2017 ,   Mr. Claus met with Aaron Bazzoli, the

new Chief Public Defender, to further address his objections to his demotion and pay reduction.

Mr. Claus showed Mr. Bazzoli his resume, his New York bar                     passage date, and his

employment letter bringing him on as a Public Defender Attorney           II in October of 2016. Mr.
Bazzoli agreed to look into the matter.

          12.      Mr. Bazzoli did not follow up with Mr. Claus. When Mr. Bazzoli called an

office meeting to discuss the new pay structure, however, he informed the attomeys that Mr.

Claus was the sole attorney in the office who had years of service discounted, resulting in a

reduction in pay. Mr. Claus waited to receive his Christmas bonus to see if any change in salary

or payment of back salary differential would be made.

          13.      Mr. Claus received no change in salary or payment of his back salary differential

at Christmas. After the new year, in January of 2018,     Mr. Claus again met with Mr.Bazzoli and

Mr. Bazzoli's deputy,      Jesse Scott James.   Mr. Claus again raised his concern that he was not

getting paid equally with his peers possessing equivalent experience levels, and that he believed

that his pay rate should be as a Public Defender Attorney II with 13 years' experience.

          14.      Furthermore, Mr. Claus informed Mr. Bazzoli and Mr. James of his belief that

he was being discriminated against based on his veteran status, as Canyon County was


COMPLAINT AND DEMAND FOR JURY TRIAL - 3
         Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 4 of 10




discounting the entirety of Mr. Claus' years spent serving his country in the military as a Judge

Advocate attorney. Mr. Claus provided Mr. Bazzoli with a document outlining the protections

afforded veterans such as himself by the Uniformed Services Employment and Reemployment

Rights Act of 1994 ("USERRA") to further attempt to ensure his rights were protected and he

was free of discrimination based on his status as a veteran. Mr. Bazzoli's body language was

highly dismissive of the USERRA document provided by Mr. Claus.

        15.    Later that week Mr. Bazzoli informed Mr. Claus that his salary had been adjusted

to the l3-year experience legal, and that Mr. Claus would receive payment for the salary

differential back to October of 2017. Ultimately, in one of his February 2018 paychecks, Mr.

Claus' pay was increased, and he received the backdated pay raise. Mr. Claus was thus made

whole at this juncture.

        16.    Mr. Claus began to suffer retaliation shortly thereafter. Mr.Bazzoli informed Mr.

Claus that, starting March 1,2018, Mary Gigray, a junior attorney with fewer years as an

attorney than Mr. Claus who was working on the child protection docket, was going to take over

Mr. Claus' misdemeanor caseload in Judge DeMeyer's courtroom, and that Mr. Claus would         be

taking over Ms. Gigray's child protection caseload in Judge Tucker's court.

        17. A misdemeanor assignment such as the one taken away from Mr. Claus is a
"stepping-stone" assignment to a felony team, while a child protection assignment was not a

similar "stepping-stone" assignment. A felony team assignment gamers a higher salary and is

often a pathway to leadership positions or a judgeship; a child protection assignment presents

neither of those opportunities.




COMPLAINT AND DBMAND FOR JURY TRIAL - 4
         Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 5 of 10




       18.     Mr. Claus, however, did not contest or complain regarding his child protection

assignment, believing that hard work and willingness      to complete all    assigned tasks would

ultimately lead to promotion and increased compensation.

       19.     Approximately three months after the transfer described in paragraph 16, supra,

Ms. Gigray was promoted to a felony assignment. Mr. Claus received no promotion.

       20.     Subsequent to his pay raise, Mr. Claus started getting regularly called into Mr.

James' office to be reprimanded for minimal offenses, such as typing client notes in too close

proximity to an office paralegal and thereby invading the paralegal's space.

       2L      Subsequent to his pay raise, Mr. Claus was singled out for these reprimands as

other public defenders who engaged       in the same or     worse conduct were not similarly

reprimanded by Mr. James.

       22.     Subsequent   to Mr. Claus' pay raise, Mr. James consistently made          sarcastic

comments    to Mr. Claus that Mr.      Claus was    a   "fourteen year attomey, right?" when

reprimanding Mr. Claus, an obvious and derogatory reference to Mr. Claus' objection that his

military Judge Advocate attorney service time should be counted towards his seniority for

compensation purposes.

       23.     Subsequent   to Mr. Claus' pay raise, Mr. Bazzoli and Mr. James took every

opportunity to belittle and denigrate Mr. Claus in front of the other attorneys. When Mr. Claus

was granted an I. C. R. 29 directed verdict by Judge DeMeyer during     a   jury trial, Mr. Bazzoli

declined to offer any praise and went out of his way to state to Mr. Claus in front of his peers

that a Rule 29 was "not a victory by jury decision." When Mr. Claus successfully appealed a




COMPLAINT AND DEMAND FOR JURY TRIAL - 5
              Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 6 of 10




conviction, Mr. James, at a weekly office offered no praise but took the time to opine that it

"[]ooks like Judge "Set'em free McKee" threw you a bone!"

            24.   On July 20,2018 Mr. Claus had a witness and exhibit list deadline in one of his

child protection cases that was going to trial on the critical issue of termination of parental

rights. Legal support staff filed Mr. Claus' witness and exhibit list and went home for the day at

5:00 p.m.     At 5:30 p.m., while Mr.     Claus was   still at his desk another witness with important

information called and informed Mr. Claus that she wanted to testify at trial. Mr. Claus also

noticed that legal support staff had omitted a key witness from the filed witness and exhibit list.

Mr. Claus felt that it was necessary to amend the witness list to include these two key

witnesses, without which the client's case would be severely and prejudicially impacted.

Canyon County had no policies             or   procedures   in effect for   after-hours, exigent filing.

Confronted with the alternative of prejudicing his client's chances of retaining parental rights,

Mr. Claus had     a paralegal   friend e-file the exhibit and witness list without opening it.

            25.   Mr. Claus was called into Mr. James' office on July 25,2018. Mr. Claus was told

that   it   was improper to have sent a confidential document outside of the office. Mr. James

ignored Mr. Claus' concerns with the lack of contingency plan in the office for such exigent

circumstances as those faced by Mr. Claus on July 20,2018.

            26.   Mr. James also informed Mr. Claus he observed Mr. Claus allegedly make               an

error at trial in failing to lodge an objection at a certain juncture. Mr. James again sarcastically

noted that "we have you down as              a l4-year   attorney, right?", another clearly derogatory

reference to the fact that Mr. Claus received experiential compensation credit for his years spent

serving his country in the military as a Judge Advocate attorney.



COMPLAINT AND DBMAND FOR JURY TRIAL - 6
         Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 7 of 10




       27.     Mr.    James then chastised   Mr. Claus for allegedly arriving a few minutes late to

work and for not clearing his email inbox suffrciently quickly, again with another derogatory

reference to Mr. Claus being a l4-year attorney.

       28.     Mr. Claus asked other attorneys if they were chastised by Mr. James in instances

where they arrived late to work or did not clear their email inboxes immediately after a trial, and

they were not. Mr. Claus was singled out.

       29.     Neither Mr. Bazzoli nor Mr. James gave Mr. Claus any written reprimand or

performance improvement plan at this point in time.

       30.     On July 27,2018, Mr. James called Mr. Claus into Mr. Bazzoli's office. Mr.

Bazzoli told Mr. Claus that his employment was being terminated. Mr. Claus asked Mr.Bazzoli

the reason for his termination, and Mr. Bazzoli refused to provide any reasoning or justification.

Mr. Claus pointed out that he had handled more cases than any other attorney during his

employment, as well as the complete lack of written reprimand or performance improvement

plan. Mr. Bazzoli simply reiterated that Mr. Claus was being terminated for                general

performance issues.

       31.     After a good faith hearing in which Mr. Claus reiterated his concems to Canyon

County regarding discrimination and retaliation based on his status as a veteran in violation of

USERRA and requested reinstatement to his position, Mr. Claus was finally terminated on

August 6,2078.




COMPLAINT AND DEMAND FOR JURY TRIAL - 7
            Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 8 of 10




                                           COUNT ONE

                   Termination in Violation of Uniformed Services Employment
                             and Reemployment Rigltts Act of 1994

          32.    Mr. Claus hereby realleges the allegation contained in Paragraphs 1 through 31       as


set   forth above and incorporates the same herein by reference.

          33.    Defendant at all times herein mentioned, was and now is an employer within the

meaning     of the Uniformed    Services Employment and Reemployment Rights                Act of   1994

("USERRA"), United States Code, Chapter 43,ParI III, Title 38.

          34.    From October of 2016 to and through August 6,2018, Mr. Claus was employed

by Defendant and was an "employee" within the meaning of USERRA.

          35.    An employer is liable for wrongful termination where the motivation for the

termination contravenes the USERRA.

          36. An important right recognized by USERRA is that an employer                     may not

discharge, discriminate or retaliate against an employee on the basis of the employee's veteran

status or military service.

          37.    Defendant's discrimination, retaliation, and discharge of Mr. Claus' employment

because he reported discriminatory pay practices based on his military service as a Judge

Advocate attomey constitutes a material breach of USERRA.

          38.    As a direct and proximate result of Defendant's breach of USERRA, Mr. Claus

has suffered damages in excess of $10,000 to be proven    with specificity   at   trial.

          39.    Mr. Claus is entitled to recover his attorney fees and costs incurred in pursuing

this matter pursuant to 38 U.S.C. 5 4323, Idaho Code $ 12-12I, I.R.C.P. 54, and any other

applicable provisions of Idaho law.


COMPLAINT AND DEMAND FOR JURY TRIAL - 8
           Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 9 of 10




       40. Mr. Claus is entitled              to recover liquidated damages pursuant to 38 U.S.C. $

4323(d) because Canyon County's termination of and retaliation against Mr. Claus in violation

of USERRA was unwananted, irresponsible, and a direct, willful, intentional, and knowing

violation of USERRA.

                                                  COUNT TWO

                    N e g lig e n t/I nt e n t i o n al I nfl ic t io n of E mo tio n a I D is t r e s s

       41.     Mr. Claus hereby realleges the allegation contained in Paragraphs I through 40 as

set forth above and incorporates the same herein by reference.

       42. By its actions detailed herein above, Defendant                                       has negligently and/or

intentionally caused Plaintiff to suffer extreme mental anguish and emotional distress which

distress has resulted   in physical manifestations including                           sleeplessness, depression and

anxiety.

       43.     As a result of Defendant's negligent andlor intentional infliction of                             severe

emotional distress, Plaintiff has suffered damages in an amount exceeding $10,000, the exact

amount to be proven with specificity attrial.

       44.     Mr. Claus is entitled to recover his attorney fees and costs incurred in pursuing

this matter pursuant to Idaho Code $ 12-121, LR.C.P. 54, and any other applicable provisions of

Idaho law.

                                          PRAYER FOR RE,LIEF

       WHEREFORE, Plaintiff prays for Judgment, Order and Decree of this Court as follows:




COMPLAINT AND DEMAND FOR JURY TRIAL - 9
                    Case 1:19-cv-00197-REB Document 1 Filed 05/31/19 Page 10 of 10




                 1.             For judgment              of the court awarding Plaintiff   Claus damages   in   excess of

$10,000.00, for both economic and non-economic damages, incurred as a result of Defendant's

constructive discharge of Mr. Claus in violation of USERRA;

                 2.             For prejudgment interest on all damages recovered at the rate set forth within

Idaho Code $ 28-22-104;

                 3.             For Plaintiffs reasonable attomey fees and costs incurred in prosecuting this

action; and

                 4.             For such other and further relief as court deems just and necessary.

                                                           DEMAND FOR JURY TRIAL

                 Plaintiff hereby demands a jury trial pursuant to Idaho Rule of Civil Procedure 38(b) and

the Constitution of the United States of America.

                 DATED this                30th day      of May,2019.

                                                                             ROSSMAN LAW GROUP, PLLC



                                                                               /n- Jl-
                                                                             Matthew G. Gunn
                                                                             Attomeys for Plaintiff

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COMPLAINT AND DEMAND FOR JURY TRIAL - IO
